         Case 1:18-cr-00032-DLF Document 151 Filed 07/08/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                        CRIMINAL NUMBER:
                v.
                                                        1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

         Defendant.


 DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S REPLY TO
 THE GOVERNMENT’S RESPONSE REGARDING THE UNSEALING OF ORDERS,
   HEARING TRANSCRIPTS, AND PLEADINGS RELATED TO DEFENDANT
              CONCORD’S MOTION TO SHOW CAUSE

       Pursuant to the Court’s July 1, 2019 order, Defendant Concord Management and

Consulting LLC (“Concord” or “Defendant”), through counsel, submits this Reply to the

Government’s Response Regarding the Unsealing of Orders, Hearing Transcripts, and Pleadings

Related to Concord’s Motion to Show Cause (“Response”).

        Because the government has withdrawn its opposition to the unsealing of the proceedings

relating to Concord’s Motion for Show Cause Order (ECF 129), Concord requests that all of the

docket entries relating to its Motion be promptly unsealed because Special Counsel Mueller is

expected to testify in public hearings before two House committees on July 17, 2019. The orders,

filings, and hearing transcript relating to Concord’s Motion should be unsealed and available to

the public prior to that testimony.

       Additionally, for the sake of completeness, Concord requests that the May 23, 2019 Minute

Order also be unsealed. The May 23, 2019 sealed Minute Order was not specifically mentioned

in Concord’s Supplemental Briefing regarding its Motion for Show Cause Order (ECF 140), the

Court’s Memorandum Opinion and Order, or the government’s Response. However, Concord’s



                                               1
         Case 1:18-cr-00032-DLF Document 151 Filed 07/08/19 Page 2 of 3



position is that the May 23, 2019 Minute Order should also be unsealed so that the public record

regarding Concord’s Motion for Show Cause Order is complete. Undersigned counsel has

conferred with the government regarding the May 23, 2019 Minute Order; the government has no

objection to the May 23, 2019 Minute Order being unsealed along with the other docket entries.

       A proposed order is attached.

 Dated: July 8, 2019                               Respectfully submitted,

                                                   CONCORD MANAGEMENT AND
                                                   CONSULTING LLC

                                                   By Counsel

                                                    /s/ Eric A. Dubelier
                                                   Eric A. Dubelier (D.C. Bar No. 419412)
                                                   Katherine Seikaly (D.C. Bar No. 498641)
                                                   Reed Smith LLP
                                                   1301 K Street, N.W.
                                                   Suite 1000 – East Tower
                                                   Washington, D.C. 20005
                                                   202-414-9200 (phone)
                                                   202-414-9299 (fax)
                                                   edubelier@reedsmith.com
                                                   kseikaly@reedsmith.com




                                               2
         Case 1:18-cr-00032-DLF Document 151 Filed 07/08/19 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2019, I have caused a copy of the foregoing Response to the

Government’s Opposition to Concord’s Request to Unseal to be filed under seal with the Clerk’s

office via hand delivery and transmitted to the following counsel of record via email:


Jonathan Kravis
Deborah Curtis
Kathryn Rakoczy
U.S. Attorney’s Office for the District of Columbia
555 Fourth Street, NW
Washington, DC 20530

Jason B.A. McCullough
U.S. Department of Justice
National Security Division
950 Pennsylvania Ave. NW
Washington, D.C. 20530

Heather N. Alpino
U.S. Department of Justice
National Security Division
950 Pennsylvania Ave. NW
Washington, D.C. 20530



                                               By: /s/ Katherine J. Seikaly
                                                  Katherine J. Seikaly (D.C. Bar No. 498641)
                                                  REED SMITH LLP
                                                  1301 K Street, NW
                                                  Suite 1000 - East Tower
                                                  Washington, DC 20005-3373
                                                  202.414.9200 (phone)
                                                  202.414.9299 (fax)
                                                  kseikaly@reedsmith.com




                                                3
